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12                                 UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO-OAKLAND DIVISION
14
15
     AMERICAN CIVIL LIBERTIES UNION
16   FOUNDATION, et al.,                        Case No. 19-CV-00290-EMC

17                  Plaintiffs,                 PLAINTIFFS’ REPLY MEMORANDUM
                                                IN SUPPORT OF CROSS-MOTION
18          v.                                  FOR PARTIAL SUMMARY JUDGMENT
                                                WITH RESPECT TO CBP, ICE, AND
19                                              USCIS
     DEPARTMENT OF JUSTICE, et al.,
20                  Defendants.
                                                Hearing date:   July 1, 2021
                                                Time:           1:30 p.m., by videoconference
21                                              Judge:          Hon. Edward M. Chen
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 1                                            INTRODUCTION

 2             This Freedom of Information Act (FOIA) lawsuit seeks records concerning the U.S.

 3   government’s collection and monitoring of social media information—well-known techniques

 4   that Defendants U.S. Customs and Border Protection (CBP), U.S. Immigration and Customs

 5   Enforcement (ICE), and U.S. Citizenship and Immigration Services (USCIS) have long used for

 6   various purposes. Plaintiffs challenged Defendants’ withholding of an array of information as

 7   unjustified under FOIA. Subsequently, in what Defendants label “good faith efforts to release as

 8   much information as possible,” they reprocessed records, released previously redacted material,

 9   and submitted supplemental declarations, while continuing to withhold significant information in

10   those records. Defs.’ Reply, ECF No. 126 at 1. Defendants have thus conceded that many of their

11   original withholdings were unsupported, yet they now effectively ask the Court to presume that

12   each of their remaining withholdings is valid based on Defendants’ say-so alone.

13             FOIA does not countenance such a presumption, nor is the disclosure of information

14   under FOIA a matter of Defendants’ discretion or “good faith.” Rather, FOIA imposes a

15   presumption in favor of disclosure and places the burden on Defendants to demonstrate that

16   information falls within one or more statutory exemptions, which must be narrowly construed.

17             CBP, ICE, and USCIS have not carried that burden. They have failed to rebut Plaintiffs’

18   challenges to remaining withholdings under Exemptions 5 and 7(E), and ICE has failed to

19   establish that it conducted an adequate search for responsive records.

20                            WITHHOLDINGS AND ISSUES IN DISPUTE

21             Because Defendants have now lifted redactions from certain records, a revised Appendix

22   of challenged withholdings is attached.1 Additionally, CBP has now determined that it should

23   have conducted a search for responsive email records. ECF No. 125. Briefing on the adequacy of

24   CBP’s search is therefore suspended pending that search and production of records. Id.

25                                              ARGUMENT

26       I.    Defendants Have Failed to Justify Withholdings Under Exemption 7(E).

27             Defendants’ expansive interpretation of Exemption 7(E) strays from settled law and

28   1
         Plaintiffs agree that the remaining withholdings at issue no longer implicate Exemption 4.
                                                      1
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 1   defies the Supreme Court’s instruction that exemptions be construed narrowly. See Milner v.

 2   Dep’t of Navy, 562 U.S. 562, 565 (2011). It is beyond dispute that “Exemption 7(E) only

 3   exempts investigative techniques not generally known to the public” and that are “so unique as to

 4   warrant the exemption.” Hamdan v. Dep’t of Justice, 797 F.3d 759, 777 (9th Cir. 2015); Order,

 5   ECF No. 39 at 6. The Ninth Circuit, moreover, has repeatedly cautioned against defining what

 6   constitutes an investigative technique or procedure with undue specificity, as doing so would

 7   allow the government to withhold information under Exemption 7(E) “under any circumstances.”

 8   Rosenfeld v. Dep’t of Justice, 57 F.3d 803, 815 (9th Cir. 1995); see also Hamdan, 797 F.3d at

 9   777. To avoid allowing the government to unilaterally define the scope of the exemption, the

10   Ninth Circuit has held clearly that “[i]f an agency record discusses the application of a publicly

11   known technique to particular facts, the document is not exempt under 7(E).” ACLU of N. Cal. v.

12   Dep’t of Justice, 880 F.3d 473, 491 (9th Cir. 2018) (“ACLU”) (cleaned up).

13            ACLU is instructive. There, the government argued that withheld records included “such

14   non-public details as where, when, how, and under what circumstances” electronic surveillance

15   techniques are used, information the government argued could enable people to evade detection.

16   Id. at 492. The court rejected that argument and held the records non-exempt, concluding that

17   although they included detailed descriptive and basic technical information, the techniques they

18   described are all publicly known, and disclosure raised no risk of circumvention of the law.2 Id.

19            Thus, for each 7(E) withholding, Defendants bear the burden of demonstrating not only

20   that the content would disclose actual techniques, procedures, or guidelines for law enforcement

21   investigations, but also that such techniques or procedures are not already publicly known and

22   that the content does not reflect the application of known techniques in particular contexts.

23            Defendants have not met that burden. They largely ignore the binding authority above

24   and the corpus of public information about their use of social media surveillance techniques,

25   including specific information about their collection, filtering, and analysis of social media

26   information vis-à-vis targeted populations. See, e.g., Pls.’ Mot., ECF No. 108 at 2–5. And while

27   Defendants repeat in their original and new declarations that some of the withheld information is

28   2
         The records ordered released are attached as Exhibit D to the Third Handeyside Declaration.
                                                     2
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 1   non-public, they fail to demonstrate that it is exempt from disclosure.

 2          A.      CBP Has Failed to Meet Its Exemption 7 Burden.

 3          Policy on Operational Use of Social Media (Ex. A at 125–36).3 Defendants have failed to

 4   justify the redactions in CBP’s key policy on operational use of social media. They simply

 5   reiterate that the content is exempt, but ACLU compels the opposite conclusion. Masked

 6   monitoring and undercover engagement on social media are, manifestly, publicly known

 7   techniques, and the withheld content closely parallels the content the Ninth Circuit held non-

 8   exempt in ACLU. See Ex. D (describing policies and approval processes for various known

 9   surveillance techniques). Defendants make no attempt to explain how, for instance, re-approval

10   periods (Ex. A at 135 ¶¶ 7.5.2, 7.6.4) or the internal process for approval of these known

11   techniques (id. ¶ 7.6.2) could fall within the exemption. And USCIS has belatedly conceded that

12   similar content in its own records cannot be withheld. See Ex. C at 1312–13.4

13          Issue papers and summaries (Ex. A at 1–22). CBP has similarly failed to demonstrate that

14   the information it withheld from seven programmatic summary documents was compiled for law

15   enforcement purposes or is exempt under 7(E). CBP now states that these documents were

16   “created and used by CBP in its law enforcement mission to secure the border of the United

17   States through the operational use of social media.” Suppl. Howard Decl., ECF No. 127 ¶ 5. But

18   that conclusory statement amounts to little more than an assertion that because CBP is a law

19   enforcement agency, its Exemption 7(E) withholdings per se meet the threshold requirement—an

20   assertion that courts have flatly rejected. See Roth v. Dep’t of Justice, 642 F.3d 1161, 1173 (D.C.

21   Cir. 2011). Nor does CBP’s new justification explain the specific purpose of documents that

22   provide general talking points on CBP’s programs. See Ex. A at 3, 14, 17, 19, 21 (“Watch Out

23   For/If Asked”). Because CBP has not supplied the required rational nexus to a legitimate law

24   3
       Unless otherwise indicated, exhibits cited here are to the Third Handeyside Declaration. All
     records with contested withholdings, and further relevant materials, are attached thereto.
25   4
       Nor can Defendants so easily cast aside Nat’l Labor Relations Bd. v. Sears, Roebuck & Co.,
26   421 U.S. 132, 153 (1975). See Defs.’ Opp., ECF No. 126 at 6. While that case addressed
     Exemption 5, it articulated a broader principle against “secret agency law” that the Department
27   of Justice itself has embraced. See Dep’t of Justice, FOIA Update: Disclosure of Prices (Jan. 1,
     1981), t.ly/JdQx (describing Sears’ hostility to “withholding final decisions” in context of
28   Exemption 4).
                                                  3
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 1   enforcement purpose, the records fall short of Exemption 7’s threshold requirement.

 2          In any event, CBP has not demonstrated that the content is exempt. The documents

 3   address programs and initiatives that are publicly known. See Pls.’ Cross-Mot., ECF No. 108 at

 4   2–3, 10. To the extent the content reflects CBP’s application of known social media exploitation

 5   techniques to specific populations or in particular contexts, it is non-exempt under ACLU,

 6   Hamdan, and Rosenfeld. Nothing in either CBP declaration suggests the records contain even the

 7   “basic technical information” that the Ninth Circuit has still found non-exempt, much less any

 8   “detailed, technical analysis.” See ACLU, 880 F.3d at 492. That CBP continues to withhold even

 9   the component that authored the documents—which cannot constitute a technique, procedure, or

10   guideline—underscores that its invocation of Exemption 7(E) is overbroad and unsupportable.

11          Privacy Threshold Analyses (Ex. A at 23–39, 48–57, 149–60, 296–306, 337–48, 349–58).

12   CBP applied that same grossly overbroad approach to withholding content from various PTAs.

13   Defendants argue that Plaintiffs have not “demonstrate[d] that the specific information redacted

14   in the documents at issue is already generally known to the public.” ECF No. 126 at 9. But it is

15   not Plaintiffs’ burden to so demonstrate, nor is it necessary that all the withheld information

16   already be in the public realm. Indeed, such a requirement would defeat FOIA’s purpose entirely.

17   Rather, it is Defendants’ burden to demonstrate that disclosure not only would reveal a non-

18   public technique, procedure, or guideline, but also that the content does not reflect the

19   application of a known technique or procedure in a particular context.

20          Even a cursory review of the PTAs makes clear that Defendants have not met that

21   burden. For instance, CBP withheld “privacy risk mitigation strategies” (Ex. A at 26), project

22   names (id. at 49, 150), administering offices (id. at 49, 297, 338, 350), and “publicly available

23   information” to be collected (id. at 51–52, 151–54, 300–01, 342–43, 352–53)—information that

24   would be obvious to virtually any user of social media and that CBP lists in public-facing

25   privacy impact assessments (PIAs). See, e.g., ECF No. 34-11 at 3. CBP also withheld the

26   purpose of the collection and material on First Amendment limitations. Ex. A at 31, 151. Such

27   content falls outside Exemption 7(E), a conclusion that USCIS has belatedly reached for its own

28   previously redacted PTA. Compare Ex. A at 54–57, 157–60, 303–06, 346, 356–57 with Ex. C at
                                                  4
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 1   2258–69. CBP’s new rationale that the content includes “names and descriptions of specific

 2   technical tools with unique capabilities,” ECF No. 126 at 10, does not satisfy its burden, as

 3   “basic technical information” on known techniques is non-exempt. See ACLU, 880 F.3d at 492.

 4          Social Media Operational Use Templates (Ex. A at 161–69, 170–77, 178–91). CBP’s

 5   withholding of significant information in various SMOUTs follows the same pattern and fares no

 6   better. CBP’s new explanation that the SMOUTs “discuss the specific circumstances in which

 7   CBP may use certain law enforcement techniques relating to the operational use of social

 8   media,” ECF No. 126 at 11, still does not meet its burden, since it neither demonstrates that the

 9   techniques at issue are not publicly known nor accounts for the Ninth Circuit’s repeated

10   admonitions in ACLU, Hamdan, and Rosenfeld as to the application of known techniques.

11          And again, context underscores that CBP’s redactions are not plausibly exempt. For

12   instance, CBP withheld the general purposes of the collection (Ex. A at 182–84), internal

13   approval requirements (id. at 183), and legal authorities (id. at 184). It also withheld rules for

14   how officers use online screen names and identities, the extent of their interaction with the

15   public, and whether they respect users’ privacy settings. Id. at 166, 173–74, 185, 188. Such

16   policy limits are non-exempt—a conclusion that USCIS has now embraced. See Ex. C at 1315–

17   17. CBP also apparently withheld information that is already available in a PIA (see Ex. A at

18   169) and definitions from CBP’s social media policy directive—despite the fact that none of the

19   definitions in the directive itself are redacted. Compare Ex. A at 177, 182 with id. at 126–28.

20          Contract information (Ex. A at 197–249). CBP falls far short of meeting its burden as to

21   the basic contracting information it withheld—information that includes simply the name of the

22   products being acquired, delivery dates, acquiring offices, and basic descriptions of the products.

23   It is illogical that any of that information constitutes a technique or procedure, much less a non-

24   public one. CBP’s new explanation that the withheld content “would indicate the scope, specific

25   type, and extent of CBP’s operational use of social media in a certain field,” ECF No. 126 at 12,

26   runs headlong into the Ninth Circuit’s ruling in ACLU. See also Dep’t of Justice, supra note 4

27   (the “public’s right to scrutinize” procurement process “must be recognized”).

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 1            B.     ICE Has Failed to Meet Its Exemption 7 Burden.

 2             Program summaries (Ex. B at 921, 1017, 1347–49, 1680–81, 1812–13, 1818–26).

 3   Defendants’ argument regarding ICE’s “Extreme Vetting” memorandum makes no sense. See

 4   Ex. B at 1347–49. As Plaintiffs previously noted, an unredacted version of the memo is already

 5   available publicly.5 Thus, Plaintiffs’ description of the withheld content is anything but “pure

 6   speculation.” See ECF No. 126 at 12. Contrary to ICE’s Vaughn index, that content addresses

 7   administrative and budget issues, not law enforcement techniques or procedures—a clear basis

 8   on which “to question the veracity of ICE’s description” of the material. See id. That the case in

 9   which the document was produced is now on appeal is of no moment. The document is already

10   public, and ICE has not appealed the court’s ruling on it. See Br. of Appellant, Knight First

11   Amendment Inst. v. Dep’t of Homeland Sec., No. 20-3837 (2d Cir. Feb. 23, 2021), ECF No. 40.

12            ICE’s continued insistence that administrative and budget issues are exempt under 7(E)

13   casts further doubt on their full withholding of a document on the Visa Lifecycle Vetting

14   Initiative (VLVI). See Ex. B at 1680–81. Defendants make no attempt to rebut Plaintiffs’

15   showing as to this document, nor has ICE provided a basis to conclude that any of the

16   “investigative steps” purportedly described in the document involve non-public techniques or

17   procedures. See ECF No. 108 at 13. Similarly, ICE does not explain how a “Summary” of the

18   VLVI could be fully exempt when detailed information about it is available elsewhere. See id.

19            The same is true of the programmatic documents on “Open Source/Social Media

20   Exploitation” that ICE withheld in full. See Ex. B at 1812–13, 1818–26. ICE’s original and new

21   explanations for those withholdings merely describe the application to particular contexts of the

22   known techniques identified in the documents’ titles. See Suppl. Pineiro Decl., ECF No. 128 ¶¶

23   6–7. And again, Defendants fail to explain how “procedures and steps used to conduct open

24   source investigations” are exempt when detailed information about such procedures and steps is

25   set forth in other ICE documents. See ICE Vaughn, ECF No. 98-2 at 50–51; Ex. B at 774–98.

26            Finally, ICE has not carried its burden as to its withholding of the overseas visa-issuing

27   posts to which ICE applies VLVI-related surveillance. See Ex. B at 921, 1017. The identities of

28   5
         See https://knightcolumbia.org/documents/9ac34446b4.
                                                    6
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 1   those posts constitute neither techniques nor procedures, nor guidelines for law enforcement

 2   investigations or prosecutions. And Defendants do not contend that the posts somehow constitute

 3   a “specific means” of deploying an investigative technique, as would be necessary to

 4   demonstrate the content is exempt under Hamdan. See 797 F.3d at 777–78. Indeed, the technique

 5   or means here is both clear and publicly known: continuous monitoring of individuals’ social

 6   media. Instead, the overseas posts, like “satellite surveillance of a particular place,” are precisely

 7   the kind of “application of a known technique” that Hamdan court found non-exempt. See id.

 8          ICE’s circumvention argument is immaterial, because risk of circumvention of the law

 9   has no bearing on Exemption 7(E)’s techniques-and-procedures clause. See Hamdan, 797 F.3d at

10   778. The argument also rests on the illogical assumption that applicants from countries or posts

11   not subject to VLVI-related screening would have no reason to believe their speech on social

12   media is surveilled. No reasonable social media user would so believe, given the pervasiveness

13   of U.S. government surveillance of social media. See, e.g., Pls.’ Mot., ECF No. 108 at 2–5.

14          Presentation content (Ex. B at 432–48). ICE still has not met its burden as to presentation

15   material on language translation and publicly available images. ICE’s new explanation that the

16   content details “ways ICE is able to identify potential groups that pose a threat to national

17   security” ignores the obvious. See Defs.’ Opp., ECF No. 126 at 14. “Islamic symbols” and the

18   Shahada, or Muslim profession of faith, cannot validly be equated with any “threat to national

19   security,” nor could they in any way constitute a technique, procedure, or guideline. See Ex. B at

20   446. And it strains logic to suggest that criminals or would-be terrorists will study ICE’s

21   examples of such symbols or open-source images associated with “recognized terrorist

22   organizations” and decide that they are in the clear if they do not use those symbols or images on

23   social media. ICE does not contend that the symbols are in any way secret—indeed, they are

24   posted on social media. ICE has not plausibly placed this content within Exemption 7(E).

25          C.      USCIS Has Failed to Meet Its Exemption 7 Burden.

26          Guidance documents (Ex. C at 1275–78, 2351–53). As an initial matter, although

27   Defendants in their brief continue to defend the withholdings in the document titled “Refugee

28   Social Media Vetting Expansion” (Ex. C at 443–44), USCIS has now reprocessed it without any
                                                   7
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 1   redactions, and the unredacted content shows why it should never have been withheld. It

 2   describes Department of Homeland Security social media vetting efforts generally and discloses

 3   no non-public technique or procedure. Defendants’ continued insistence that this content could

 4   validly be withheld exemplifies their unduly expansive approach to Exemption 7(E).6

 5          That same approach is evident in Defendants’ continued withholding of “lines of inquiry”

 6   in two guidance documents. See Ex. C at 1275–78, 2351–53. Defendants fail to demonstrate that

 7   questions routinely disclosed to applicants and their attorneys during the immigration process are

 8   somehow exempt—a notion that courts have rejected. See Pls.’ Mot., ECF No. 108 at 16. Other

 9   documents in USCIS’s production reinforce that these questions reflect not a specialized

10   technique or procedure but mere suggested potential follow-up questions that anyone could

11   devise. See Ex. C at 1726–29. And because these questions are routinely disclosed, USCIS

12   cannot plausibly assert that their disclosure here would risk circumvention of the law.

13          Privacy and First Amendment compliance information (Ex. C at 1878–1906, 1308–21).7

14   Although USCIS has now removed some of the redactions in the presentation titled “Protecting

15   The First Amendment in Social Media Research,” it still has not met its burden as to the

16   remaining withholdings. See Ex. C at 1888–1904. USCIS now states that the presentation content

17   includes “non-public details of methods for screening” and “instructions regarding what media

18   may or may not be searched.” Defs.’ Opp., ECF No. 126 at 20. Those new justifications ignore

19   that the kind of legal and policy limits discussed in the presentation fall outside the scope of

20   Exemption 7(E). See Pls.’ Mot., ECF No. 108 at 18. Indeed, the Ninth Circuit in ACLU found

21   non-exempt guidance far more detailed than what USCIS withheld here. See Ex. D. USCIS also

22   wrongly focuses on whether the content is non-public rather than whether it is exempt.

23          Inconsistency in USCIS’s redactions casts further doubt on the validity of its remaining

24   withholdings. For instance, in reprocessing the presentation, USCIS redacted additional content

25   that was previously unredacted. Compare ECF No. 109-3 at 1892 to Ex. C at 1892. The

26   6
       Because USCIS completely removed its redactions in the policy documents in Exhibit C at
27   443–44, 1954–55, 2031–32, those documents are no longer at issue.
     7
       Following USCIS’s reprocessing of program summaries and reviews in Exhibit C at 277–88,
28   293–300, 301–18, 331–34, 335–38, 1119–20, and 1541–42, those records are no longer at issue.
                                                  8
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 1   previously unredacted content simply posited a scenario involving a visa applicant who is a

 2   member of a rights group labeled “extremist,” then questioned whether that information can be

 3   collected. Id. Nothing about that content suggests that it can validly be withheld under 7(E).

 4   Other still-redacted slides appear to include similar scenarios, with subsequent questions—but

 5   not answers—about the appropriateness of collecting the information. Ex. C at 1895–1905. Mere

 6   hypothetical scenarios illustrating USCIS’s policy limitations are not exempt under 7(E).

 7            Finally, USCIS has fallen short of its burden as to the privacy analysis of its operational

 8   use of social media. See id. at 1308–21. Here again, USCIS’s removal of redactions not only

 9   demonstrates that its original withholdings were unjustifiable, but also undermines its remaining

10   redactions. For instance, still-redacted content includes “examples of information that can be

11   gathered through social media,” id. at 1313–14—information that is neither secret nor a

12   technique or procedure, and that USCIS has now disclosed in similar documents. See, e.g., id. at

13   2261–64 (identifying specific information to be collected during social media reviews).

14    II.     Defendants Have Failed to Justify Withholdings Under Exemption 5.

15            A.     CBP Has Failed to Meet Its Exemption 5 Burden.

16            Privacy Threshold Analyses (Ex. A at 23–39, 48–57, 296–306, 337–48, 349–58). CBP

17   has failed to rebut Plaintiffs’ showing that content in these privacy analyses is not predecisional.

18   Defendants argue that Plaintiffs “attempt to re-cast” the PTAs as “adjudications,” Defs.’ Opp.,

19   ECF No. 126 at 23, but the PTAs themselves conclude with “Privacy Threshold Adjudications.”

20   Ex. A at 37, 56, 305, 347, 356. Indeed, it is CBP’s declarant who now attempts to recast the

21   withheld content as “relate[d] to the CBP Privacy Office’s recommendations to the DHS Privacy

22   Office with respect to proposed privacy limitations on CBP’s proposed activities.” Suppl.

23   Howard Decl., ECF No. 127 ¶ 13. But as their structure and context make clear, the PTAs

24   document the outcome of the agency’s privacy review and memorialize the DHS’s position on

25   the privacy issues identified therein. As such, they are not deliberative-process privileged—a

26   conclusion that USCIS has now embraced by removing all Exemption 5 redactions from its own

27   PTA. See Ex. C at 2258–69. Nor does CBP explain how a list of “privacy risk mitigation

28   strategies” could fall within the deliberative process privilege. See Ex. A at 26.
                                                    9
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 1          Issue papers and summaries (Ex. A at 1–4, 8–12, 13–15, 16–17, 18–19, 20–22). CBP

 2   continues to withhold descriptive information from papers summarizing its social media

 3   surveillance activities—information that CBP has not established is deliberative or predecisional.

 4   CBP now states that the withheld content “involved assessments related to CBP’s use of social

 5   media” or “recommended responses to questions about CBP’s use of social media.” Suppl.

 6   Howard Decl., ECF No. 127 ¶ 14. Neither establishes the content is either predecisional or

 7   “actually . . . related to the process by which policies are formulated.” See Nat’l Wildlife Fed’n v.

 8   U.S. Forest Serv., 861 F.2d 1114, 1118–19 (9th Cir. 1988). CBP’s new justification suggests the

 9   withheld content simply explains current policy. See Habeas Corpus Res. Ctr. v. Dep’t of

10   Justice, No. C 08–2649 CW, 2008 WL 5000224, at *1 (N.D. Cal. Nov. 1, 2008) (information

11   “merely peripheral to actual policy formation” not deliberative-process privileged). Similarly, the

12   headers on multiple issue papers suggest their contents are unmoored from any particular

13   policymaking process. See Ex. A at 1, 16, 18 (“Action Required: Information Only; Time

14   Constraint: None”). Nor does CBP explain how content under headings labeled “Background,”

15   “Current Social Media Use,” and “Future Actions” is either predecisional or part of any decision-

16   making process. Finally, CBP fails to demonstrate that questions and answers about CBP

17   policies and practices are exempt. See Pls.’ Mot., ECF No. 108 at 21.

18          B.      ICE Has Failed to Meet Its Exemption 5 Burden.

19          Contract-related language (Ex. B at 62–63). ICE still asserts a sweeping interpretation of

20   the deliberative process privilege over contract language related to Giant Oak, a social media

21   surveillance software vendor. That interpretation is untenable. First, Defendants fail to explain

22   how this language does not simply reflect the implementation of a previous policy decision to

23   purchase surveillance software. ICE’s attempt to characterize contract-related language as a

24   freestanding policy decision in itself is unavailing. See ACLU of N. Cal. v. Fed. Bureau of

25   Investigation, 146 F. Supp. 3d 1161, 1170 (N.D. Cal. 2015) (rejecting deliberative process claim

26   for draft language where agency had already “decided what to say, just not how to say it”).

27   Second, ICE fails to establish this language remained internal to the government as “inter-agency

28   or intra-agency” information, as Exemption 5 requires—in other words, that it was not shared
                                                 10
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 1   with a private vendor as part of the contract’s formation. See 5 U.S.C. § 552(b)(5).

 2          Vendor-related language for third party software (Ex. B. at 1012 (first paragraph), 1014).

 3   ICE has similarly failed to meet its burden as to a March 2018 set of emails that purportedly

 4   include explanations of the agency’s current social media monitoring practices. ICE strains to

 5   characterize mere descriptions of how existing policies work in practice as a separate policy-

 6   making process. Defs.’ Opp., ECF No. 126 at 25. But ICE has not shown how the withheld

 7   information—a response to the Deputy Director’s request for “accurate information” about the

 8   “current use” of Facebook by ICE components—reflects the back and forth of policymaking

 9   rather than the rote recitation of “accurate” facts. See Ex. B at 1014. To establish the privilege

10   applies, a document “must be prepared to assist an agency decision-maker in arriving at a future

11   particular decision.” Lahr v. Nat’l Transp. Safety Bd., 569 F.3d 964, 981 (9th Cir. 2009)

12   (emphasis added). Here, when the response was prepared, ICE’s Deputy Director had already

13   decided simply to request “accurate information,” yet ICE’s declarant suggests that this directive

14   was up for debate, characterizing the withheld information as “relat[ed] to discussions regarding

15   what information should be shared with the public regarding HSI’s use of social media in HSI

16   operations.” Suppl. Pineiro Decl., ECF No. 128 ¶ 10. That explanation neither locates the content

17   within a particular decision-making process nor establishes it as predecisional.

18          Performance Work Statement for Visa Lifestyle Vetting Initiative (Ex. B at 596–640).

19   ICE has failed to meet its burden to justify the full withholding of multiple versions of this

20   document. It is implausible that that the entire document falls within Exemption 5, especially

21   because a publicly available version of the same type of document includes sections containing

22   basic information about, for example, the general mission of DHS, agency components involved,

23   and the period of performance. See Ex. B at 774–98. Separately, ICE’s assertion that the

24   existence of a DRAFT label on these documents will confuse the public about current policy is

25   both nonsensical (after all, the label plainly communicates the government’s view that the

26   document is not final) and not an element of the deliberative process privilege. See Suppl.

27   Pineiro Decl., ECF No. 128 ¶ 11; Assembly of State of Cal. v. Dep’t of Com., 968 F.2d 916, 923

28   (9th Cir. 1992) (concluding census data not subject to deliberative process privilege and rejecting
                                                 11
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 1   defendant’s “public confusion” justification for secrecy).

 2          C.      USCIS Has Failed to Meet Its Exemption 5 Burden.

 3          Email regarding First Amendment and USCIS authority (Ex. C at 1571).8 USCIS

 4   wrongly asserts the deliberative process privilege to withhold secret law: an interpretation of the

 5   substantive limits on its authority under the First Amendment. Defs.’ Opp., ECF No. 126 at 27–

 6   28. Defendants’ interpretation of the working law doctrine, moreover, is unduly narrow. The

 7   doctrine is not limited to an agency’s understanding of individual “substantive rights and

 8   liabilities.” See id. at 28. Rather, it “insures that the agency does not operate on the basis of

 9   secret law” or “hidden behind a veil of privilege because it is not designated as formal, binding,

10   or final.” Assembly of Cal., 968 F.2d at 920 (cleaned up). For the email to explain “how the First

11   Amendment may or may not restrict” three proposed policy choices, it must set forth what the

12   agency believes the First Amendment requires or prohibits. See Supp. White Decl., ECF No. 129

13   ¶ 7. Put another way, USCIS’s interpretation of the First Amendment is the agency’s working

14   law—it is an “interpretation[] which embod[ies] the agency’s effective law and policy….” Sears,

15   421 U.S. at 153. This interpretation must be disclosed to the public, regardless of whether

16   portions of the email applying the law are in draft form or need further agency clearance.

17          USCIS has also failed to establish that the attorney-client privilege applies to this email.

18   For the privilege to apply, the communication’s “primary purpose” must be to obtain legal

19   advice, not policy advice. N. Pacifica, LLC v. City of Pacifica, 274 F. Supp. 2d 1118, 1128–29

20   (N.D. Cal. 2003). USCIS’s new declaration fails this test. It states that the “guidance in the email

21   focuses on specific legal questions related to restrictions that would apply to expanding the

22   government’s vetting of aliens in the United States, which related to three options being

23   considered….” Suppl. White Decl., ECF No. 129 ¶ 11. Because this guidance was designed to

24   inform a choice among policy decisions, it is not privileged.

25

26   8
      USCIS is no longer asserting Exemption 5 as a basis for withholding content in several
27   documents: Ex. C at 1267–78, 2258–69, and 2344–53. Suppl. White Decl., ECF No. 129 ¶¶ 5, 6,
     8. The Exemption 7 redactions in 1267–78 and 2344–53 remain contested, see supra Section I.C,
28   whereas 2258–69 is no longer at issue.
                                                  12
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 1          Emails regarding DHS procurement of social media services (Ex. C at 1711–12). USCIS

 2   incorrectly asserts the deliberative process privilege over emails regarding a non-profit advocacy

 3   organization’s letter to the agency.9 The withheld emails respond to an email from the USCIS

 4   chief counsel’s office sharing a link to the letter. Ex. C at 1712. USCIS cannot sustain its burden

 5   under Exemption 5 by vaguely alluding to a “decision that possibly may be made at some

 6   undisclosed time in the future.” Lahr, 569 F.3d at 981. USCIS states that the remaining withheld

 7   information includes questions about the “potential procurement of social media services,”

 8   “upcoming decisions” and “pending process decisions,” but these vague descriptions could apply

 9   to any number of policy decisions before the agency. See Suppl. White Decl., ECF No. 129 ¶ 9;

10   ECF 98-6 at 174. USCIS falls short of its burden to explain the specific policy decision at issue

11   within the remaining withheld emails. See Habeas Corpus, 2008 WL 5000224, at *2 (document

12   “summariz[ing] issues raised by outside groups” did not reflect policy deliberations).

13          Summary Paper: “Vetting of Aliens in the United States” (Ex. C at 1475–77). USCIS still

14   cannot establish the essential elements of the attorney-client privilege as to this summary paper

15   on vetting non-citizens inside the United States. In addition to other elements of the privilege,

16   USCIS must demonstrate that it has maintained the paper in actual confidence. See Pls.’ Opp.,

17   ECF No. 108 at 27–30. The privilege’s core purpose is “protection of confidential facts,” which

18   cannot be “made known to persons other than those who need to know them,” and an agency

19   must demonstrate that the information circulated “no further than among those members of the

20   organization who are authorized to speak or act for the organization in relation to the subject

21   matter of the communication.” Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 863

22   (D.C. Cir. 1980). Here, USCIS has failed to demonstrate that the paper was in fact kept

23   confidential. The agency’s new declaration states that the “the document has not been shared

24   outside of the government.” Suppl. White Decl., ECF No. 129 ¶ 10. But that does not remotely

25   establish confidentiality. The executive branch of “the government” alone employs over two

26   million people, the vast majority of whom have nothing to do with “vetting [noncitizens] in the

27
     9
      Following Plaintiff’s Cross-Motion, USCIS is no longer asserting attorney-client privilege
28   under Exemption 5 for this email chain and has lifted multiple redactions. See Ex. C at 1711–12.
                                                 13
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 1   United States.”10 Moreover, the Department of Justice, which purportedly authored the

 2   document, failed to “submit[] evidence that substantiates its claim that the communications were

 3   confidential in fact,” and such failure precludes reliance on the attorney-client privilege here. See

 4   ACLU of N. Cal., 146 F. Supp. 3d at 1168 (content widely circulated within FBI not privileged).

 5   III.     ICE Has Failed to Demonstrate That it Conducted an Adequate Search.

 6            ICE falls well short of its burden of demonstrating that it conducted a “search reasonably

 7   calculated to uncover all relevant documents.” Zemansky v. Env’t Prot. Agency, 767 F.2d 569,

 8   571 (9th Cir. 1985). First, ICE does not address or rebut Plaintiffs’ showing that the searches by

 9   the Office of Acquisition Management and the Office of Policy were insufficient. See Pls.’ Mot.,

10   ECF No. 108 at 35. Those offices’ searches did not extend to systems and/or custodians likely to

11   have responsive records and were therefore inadequate. See id.

12            The same is true of the search conducted by the Office of Enforcement and Removal

13   Operations (ERO). In attempting to explain why ERO located so few records, ICE now states

14   that “[t]he identification and arrest of aliens who present a danger to national security or are a

15   risk to public safety, makes up only a portion of ERO responsibilities.” Suppl. Pineiro Decl.,

16   ECF No. 128 ¶ 5. That explains nothing. Plaintiffs’ FOIA request is not confined to records

17   concerning danger to national security or risk to public safety. Indeed, the request encompasses

18   records on social media surveillance of any kind, and it expressly includes “[r]ecords concerning

19   any product or service capable of using social media content for immigration enforcement

20   purposes.” See Pineiro Decl., ECF No. 98-1 ¶ 5.

21            Nor is there any basis for ICE’s statement that “Plaintiffs’ FOIA request was limited in

22   nature and did not request records relating to any programs or operations within the purview of

23   ERO.” Suppl. Pineiro Decl., ECF No. 128 ¶ 5. On its face, the request is broadly framed and

24   plainly sought records within ERO’s purview. Thus, ICE implausibly asserts that even though

25   the few records ERO produced show that it spent hundreds of thousands of dollars on social

26   media surveillance technology, ERO has no policies, guidance, procedures, directives, or

27
     10
       Sizing Up the Executive Branch—Fiscal Year 2016, Office of Personnel Management at 4
28   (June 2017), https://rb.gy/8mzq14.
                                                   14
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 1   memoranda concerning the use of such technology, nor did it create any correspondence or

 2   communications regarding the products it acquired. See Pineiro Decl., ECF No. 98-1 ¶ 5.

 3           Moreover, the records ERO produced barely hint at the scope of ERO’s documented use

 4   of social media surveillance. Federal contracting records show that ERO has spent millions of

 5   dollars contracting with Thomson Reuters for access to its CLEAR database, which draws

 6   heavily on social media content.11 The contracts for these products fall squarely within the scope

 7   of Plaintiffs’ FOIA request, yet ICE’s production contains no sign of any records related to them.

 8   They also raise questions about ICE’s statement that “[a]t the time of the search, ERO did not

 9   have any systems or programs that incorporated the use of social media for ‘targeting algorithms,

10   machine learning processes, and/or data analytics.’” Suppl. Pineiro Decl., ECF No. 128 ¶ 5

11   (quoting Plaintiffs’ FOIA request). Thomson Reuters openly advertises that CLEAR uses “web

12   analytics to uncover facts hidden online,” including “text and images” on “social networks.”12

13           Thus, the manual search by a single officer within a subdivision of ERO of her paper files

14   and her own email folders was plainly inadequate. It is beyond implausible that ERO conducted

15   a search reasonably calculated to locate all responsive records.

16   IV.     The Court May Conduct In Camera Review if Warranted.

17           As explained above, Defendants have failed to meet their burden of establishing that the

18   information they withheld is properly exempt. To the extent the Court is unable to adjudicate

19   these motions on the available record, it may conduct in camera review to ensure compliance

20   with FOIA. See Hamdan, 797 F.3d at 779; Ray v. Turner, 587 F.2d 1187, 1195 (D.C. Cir. 1978)

21   (court has discretion to conduct in camera review on basis of “uneasiness” or “doubt”).

22                                            CONCLUSION

23           The Court should deny Defendants’ Motion for Summary Judgment and grant Plaintiffs’

24   Cross-Motion for Summary Judgment with respect to CBP, ICE, and USCIS.

25
     11
26      See, e.g., Contract Summary, t.ly/9qHA ($9.8 million contract with Thomson Reuters for
     CLEAR, beginning in 2010); Contract Summary, t.ly/1Vlw ($5.6 million contract beginning in
27   2016); Contract Summary, t.ly/KscM ($2.1 million contract beginning in 2015).
     12
        Thomson Reuters CLEAR, The Smarter Way to Get Your Investigative Facts Straight at 6
28   (2015), t.ly/WMP8.
                                                  15
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 1

 2                                          Respectfully submitted,

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         APPENDIX: INDEX OF PLAINTIFFS’ CHALLENGED WITHHOLDINGS


                              CBP Records and Withholdings
 Document                                                                     Exemption(s)
                               Document description
 Bates No.                                                                        at issue
1-4           Information Issue Paper (Oct. 6,2016)                        (b)(5), (b)(7)(E)
5-7           CBP Use of Social Media Paper (May 25, 2016)                 (b)(7)(E)
8-12          CBP Use of Social Media Paper (Sept. 26, 2016)               (b)(5), (b)(7)(E)
13-15         Social Media Briefing Paper                                  (b)(5), (b)(7)(E)
16-17         Information Issue Paper (June 2,2016)                        (b)(5), (b)(7)(E)
18-19         Information Issue Paper (Aug. 30, 2016)                      (b)(5), (b)(7)(E)
20-22         Information Issue Paper (Apr. 20, 2017)                      (b)(5), (b)(7)(E)
23-39         Privacy Threshold Analysis: Electronic Visa Update System    (b)(5), (b)(7)(E)
              (EVUS)
48-57         Privacy Threshold Analysis: Pilot Evaluation                 (b)(5), (b)(7)(E)
125-36        Policy on Operational Use of Social Media                    (b)(7)(E)
149-60        Privacy Threshold Analysis: Office of Intelligence and the   (b)(7)(E)
              Office of Professional Responsibility, July 2, 2018
161-69        DHS Operational Use of Social Media: Office of               (b)(7)(E)
              Intelligence and Investigative Liaison
170-77        DHS Operational Use of Social Media: Office of               (b)(7)(E)
              Intelligence and Investigative Liaison
178-91        DHS Operational Use of Social Media: U.S. Border Patrol,     (b)(7)(E)
              November 27, 2017
197-212       Contract Number HSHQDC-12-D-00013, Order Number              (b)(7)(E)
              70B04C18F00001093
213-34        Award Contract Number HSHQDC13D00027, Order                  (b)(7)(E)
              Number 70B04C18F00001257
235-41        Delivery Order 70B04C18F00000377                             (b)(7)(E)
242-49        Contract Number HSHQDC-13-D-00026, Order Number              (b)(7)(E)
              HSBP1017J000831
296-306       Privacy Threshold Analysis: Office of Field Operations       (b)(5), (b)(7)(E)
              (July 8, 2016)
337-48        Privacy Threshold Analysis: Office of Field Operations,      (b)(5), (b)(7)(E)
              July 8, 2016
349-58        Privacy Threshold Analysis: Office of Field Operations,      (b)(5), (b)(7)(E)
              January 5, 2018
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                             ICE Records and Withholdings
 Document                                                                    Exemption(s)
                              Document description
 Bates No.                                                                       at issue
62-63        Email titled “Social Locator for OST SOP"                    (b)(5)
432-48       Homeland Security Investigations PowerPoint presentation     (b)(7)(E)
596-640      Document titled “Procurement Sensitive: Performance          (b)(5)
957-1001     Work Statement Visa Lifecycle Vetting Initiative”
1264-1308
1356- 1400
1717-1760
1983-2027
921          Email titled “VLVI language”                                 (b)(7)(E)
1008-20      Email titled “TASKING REQUEST – HSI NSID USE OF              (b)(5) (at 1012 top),
             FACEBOOK”                                                    (b)(7)(E) (at 1017)
1347-49      Document titled “Extreme Vetting-Visa Security Program-      (b)(7)(E)
             PATRIOT”
1680-81      Document titled “Visa Lifecycle Initiative Summary”          (b)(7)(E)
1812-13      Document titled “Open Source/Social Media Exploitation”      (b)(7)(E)
1818-26      Document titled “Counterterrorism and Criminal               (b)(7)(E)
             Exploitation Unit Open Source/Social Media Exploitation”




                            USCIS Records and Withholdings
 Document                                                                    Exemption(s)
                               Document description
    No.                                                                         at issue
1267-1278    Draft Guidance for Use of Social Media in Field Operations   (b)(7)(E)
             Directorate Adjudications, dated October 27, 2017
1308-21      DHS Operational Use of Social Media, Privacy Compliance      (b)(7)(E)
             memorandum, January 25, 2017
1475-77      Memorandum titled “Impediments to Proposed Expanded          (b)(5)
             Immigration Vetting of Aliens in the United States”
1571         Email, FW: USCIS authority to collect/use social media       (b)(5)
             information relating to the exercise of First Amendment
             protected activities (draft), dated June 22, 2016
1711-1712    Email, RE: DHS procurement of SM services in Enhanced        (b)(5)
             Vetting initiative, dated April 9, 2018
1878-1906    PowerPoint training presentation, “Protect the First         (b)(7)(E)
             Amendment in Social Media Research," presented to
             USCIS’s FDNS by the Office for Civil Rights and Civil
             Liberties
2344-53      USCIS’s Refugee Affairs Division, Guidance for Use of        (b)(7)(E)
             Social Media in Syrian Refugee Adjudications, dated
             September 25, 2018
